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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                        Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC

                 Defendant.


         GOVERNMENT’S FILING REGARDING PROPOSED REDACTIONS

       Pursuant to the Court’s January 7, 2019 minute order, the United States has reviewed the

transcript of the January 7 status conference and has no proposed redactions.



                              Respectfully submitted,

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